Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 1 of 41



                             UNITED STATES DISRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO:

 L.B. JOHNSON, JR., In His Capacity as Personal Representative of The Estate of
 Brandon L.B. Johnson, Deceased, and TAMMY SUE STEWART, mother of
 Brandon L.B. Johnson, Deceased,

        Plaintiffs,
  v.

 TIMOTHY NIERMANN, Secretary, State of Florida, Department of Juvenile Justice, STATE
 OF FLORIDA, DEPARTMENT OF JUVENILE JUSTICE, an Agency of the State of Florida,
 YOUTH OPPORTUNITY INVESTMENTS, LLC, LATOYA JACKSON, in her Individual
 Capacity, CARMITA ROSENBERG, in her Individual Capacity, IRA BLOOM, in his Individual
 Capacity, Ms. JOHNSON, in her Individual Capacity, ZEDRICK GARDNER, in his Individual
 Capacity, LEONARD WILLIAMS, in his Individual Capacity, and SHARON HILL-SMITH, in
 her Individual Capacity,

        Defendants.

 ____________________________________________________________________________/

                                        COMPLAINT

        Comes now the Plaintiffs, L.B. JOHNSON, JR., in his capacity as Personal

 Representative of the Estate of Brandon L.B. Johnson, Deceased, and TAMMY SUE

 STEWART, mother of Brandon L.B. Johnson, Deceased by and through their undersigned

 counsel and hereby sues defendants, TIMOTHY NIERMANN, Secretary, State of Florida,

 Department of Juvenile Justice, STATE OF FLORIDA, DEPARTMENT OF JUVENILE

 JUSTICE, an Agency of the State of Florida, YOUTH OPPORTUNITY INVESTMENTS, LLC,

 LATOYA JACKSON, in her Individual Capacity, CARMITA ROSENBERG, in her Individual

 Capacity, IRA BLOOM, in his Individual Capacity, Ms. JOHNSON, in her Individual Capacity,

 ZEDRICK GARDNER, in his Individual Capacity, LEONARD WILLIAMS, in his Individual

 Capacity, and SHARON HILL-SMITH, in her Individual Capacity and states as follows:



                                              1
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 2 of 41



                                              Parties

    1. Plaintiff, L. B. Johnson, Jr., is the personal representative of the Estate of Brandon L.B.

 Johnson, who is deceased.

    2. Plaintiff, Tammy Sue Stewart, is the mother of Brandon L.B. Johnson, who is deceased.

    3. Defendant, Timothy Niermann, is the Secretary for the State of Florida, Department of

 Juvenile Justice, an agency of the State of Florida, organized under the existing laws of the State

 of Florida and was at all times material to this complaint responsible for the establishment of

 policies and procedures, either formally or by custom and practice, for the employment, training,

 supervision and conduct of the various officers, employees and medical professionals at the

 Broward Youth Treatment Center as is described below.

    4. Defendant State of Florida, Department of Juvenile Justice, is an agency of the State of

 Florida, and was at all times material to this complaint responsible for the establishment and

 implementation of policies and procedures, either formally or by custom, practice, or contract,

 for the employment, training, supervision and conduct of the various officers, employees and

 medical professionals at the Broward Youth Treatment Center per contract.

    5. Defendant Youth Opportunity Investments, LLC, is an Indiana Limited Liability

 Company, authorized to transact business within the State of Florida as of June 10, 2016, which

 contracted with the State of Florida, Department of Juvenile Justice on or about August 19, 2016,

 which was to begin on August 25, 2016, to operate the Broward Youth Treatment Center, a 28-

 bed non-secure, integrated substance abuse residential program serving youth ages 14 to 18

 committed to the Department of Juvenile Justice and was at all times material to this complaint

 responsible for the establishment of policies and procedures, either formally or by custom and

 practice, for the employment, training, supervision and conduct of the various officers,



                                                 2
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 3 of 41



 employees and medical professionals at the Broward Youth Treatment Center as is described

 below.

    6. Per contract, direct services to youth and full responsibility for the program at the

 Broward Youth Treatment Center began on September 1, 2016 and concluded on February 10,

 2018 under Contract #10440 as described below.

    7. Defendant Latoya Jackson, at all times material to this complaint, was an employee of the

 Youth Opportunity Investments, LLC, in her capacity as Program Director of the Broward Youth

 Treatment Center, was responsible for giving reasonable and adequate attention to Johnson’s

 medical needs and safety needs and ensuring the availability of properly trained staff, adequate

 policies and medical staff at the detention center necessary to provide for Johnson’s medical and

 safety needs, a resident of the State of Florida and is otherwise sui juris.

    8. Defendant Carmita Rosenberg, at all times material to this complaint, was an employee

 of the Youth Opportunity Investments, LLC in her capacity as Assistant Program Director of the

 Broward Youth Treatment Center, was responsible for giving reasonable and adequate attention

 to Johnson’s medical needs and safety needs and ensuring the availability of properly trained

 staff, adequate policies and medical staff at the detention center necessary to provide for

 Johnson’s medical and safety needs, a resident of the State of Florida and is otherwise sui juris.

    9. Defendant Ira Bloom, at all times material to this complaint, was an employee of

 Youth Opportunity Investments, LLC, and observed, witnessed and otherwise participated in the

 treatment of, supervision of, and other conduct and behavior involving Brandon L.B. Johnson, as

 is described below, a resident of the State of Florida and is otherwise sui juris.

    10. Defendant Ms. (FNU) Johnson, at all times material to this complaint, was an




                                                    3
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 4 of 41



 employee of Youth Opportunity Investments, LLC, and observed, witnessed and otherwise

 participated in the treatment of, supervision of, and other conduct and behavior involving

 Brandon L.B. Johnson, as is described below, a resident of the State of Florida and is otherwise

 sui juris.

     11. Defendant Zedrick Gardner, at all times material to this complaint, was an

 employee of Youth Opportunity Investments, LLC, and observed, witnessed and otherwise

 participated in the treatment of, supervision of, and other conduct and behavior involving

 Brandon L.B. Johnson, as is described below, a resident of the State of Florida and is otherwise

 sui juris.

     12. Defendant Leonard Williams, at all times material to this complaint, was an

 employee of Youth Opportunity Investments, LLC, and observed, witnessed and otherwise

 participated in the treatment of, supervision of, and other conduct and behavior involving

 Brandon L.B. Johnson as is described below, a resident of the State of Florida, Miami-Dade

 County, and is otherwise sui juris.

     13. Defendant Sharon Hill-Smith, at all times material to this complaint, was an

 employee of Youth Opportunity Investments, LLC, as a nurse, and provided medical services

 and medical treatment to Brandon L.B. Johnson and also observed, witnessed and otherwise

 participated in the treatment of, supervision of, and other conduct and behavior involving

 Brandon L.B. Johnson, as is described below a resident of the State of Florida and is otherwise

 sui juris.

                                       Jurisdiction and Venue

     14. The offenses described below resulted from the failure of the defendant, State of Florida,




                                                  4
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 5 of 41



 Department of Juvenile Justice and the Youth Opportunity Investments, LLC, to employ

 qualified persons for positions of authority, and/or properly and conscientiously train and

 supervise the conduct of such persons after their employment, and/or to promulgate appropriate

 operating policies and procedures, either formally or by custom and practice, and/or to properly

 and reasonably provide adequate and safe detention and incarceration procedures and appropriate

 medical care and treatment to Brandon L.B. Johnson as part of such detention and incarceration

 so as to protect the constitutional rights of inmates/detainees like Brandon L.B. Johnson.

 Defendants’ conduct was intentional and grossly negligent, indicated active malice toward

 Brandon L.B. Johnson and constituted a total, deliberate and reckless disregard for and

 indifference to his life and his constitutional and common law rights, and justifies and award of

 punitive damages, in addition to the actual damages that his estate is entitled to recover.

    15. This is an action for damages in excess of Fifteen Thousand Dollars ($15,000.00) brought

 pursuant to 42 U.S.C. § 1983, the Eighth Amendment to the United States Constitution and

 Florida State Tort Law, including a claim for attorney’s fees pursuant to 42 U.S.C. § 1988.

    16. Venue is proper because the arrest from which these causes of action arose occurred in

 Broward County, Florida and the parties either resided or were located within Broward County,

 Florida at the time the incidents giving rise to this lawsuit occurred.

    17. All conditions precedent under Florida law 768.28, prior to the filing of this

 lawsuit have been either satisfied or waived.

                                General Allegations as to all Counts

    18. The Broward Treatment Center, at all times material to this complaint, was being

 operated by the Youth Opportunity Investments, LLC (hereinafter “YOI”), a foreign corporation

 from Indiana that contracted with Defendant State of Florida, Department of Juvenile Justice



                                                   5
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 6 of 41



 under contract number 10440 (hereinafter “contract”) to provide a twenty-eight (28) bed non-

 secure residential program for boys in need of substance abuse treatment services with

 innovations in delinquency programming and treatment services.

    19. Pursuant to said contract, YOI , as the provider of health services, was required to

 provide comprehensive on-site medical services designed to provide accountability and rapid

 response to ensure that the specialized health needs of adolescent boys are met in accordance

 with Rule 63M-2, Florida Administrative Code, and applicable sections of Rule 63N-1, Florida

 Administrative Code.

    20. Per contract, these medical services, at minimum, shall include primary and preventative

 care, sick call and episodic case, and management of acute and chronic medical issues and

 follow up.

    21. YOI, was required to have policies and procedures in place in the case of a medical

 emergency within the facility. Per contract, all staff or volunteers that have direct control with

 youth are to be trained and understand that they are to immediately call 9-1-1- in a medical

 emergency that poses the need for urgent medical attention.

    22. YOI, was required to provide on-site nursing coverage for forty (40) hours per week, five

 (5) days per week, with 24/7 on-call to be provided by Registered Nurses (RNs), licensed in the

 State of Florida.

    23. YOI, was required to perform a gender-specific routine screening and evaluation, and as

 outlined in Rule 63M-2, Florida Administrative Code, and applicable sections of Rule 63N-1,

 Florida Administrative Code.

    24. YOI, was required to complete a Facility Entry Physical Screening Form at the time of

 Johnson’s admission.



                                                 6
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 7 of 41



    25. YOI, was required to conduct a comprehensive physical assessment within the required

 time frame of admission by an MD, DO, ARNP or PA. Per contract, at a maximum, the

 Comprehensive Physical Assessment was required to be completed within seven (7) calendar

 days of admission for any youth with a Medical Grade of 1, 2, 3, 4 or 5.

    26. If a youth is noted to have a medical condition on admission, then they shall be seen

 sooner.

    27. Any existing comprehensive physical assessment must have been performed within one

 year of admission for youth with Medical Grades of 2, 3, 4 or 5 and within two years for youth

 with a Medical Grade of 1.

    28. Per contract, YOI, was required to treat and monitor acute and chronic conditions that

 any youth had while housed at the Broward Youth Treatment Center.

    29. Per contract, “No more than three months shall elapse before a youth with a chronic

 health problem is assessed, in a routine follow up, by a health care Provider at the level of an

 MD, DO, PA, or ARNP.

    30. Per contract, YOI, was required to train all full-time and part-time direct care Provider

 staff, in accordance with Rule 63H, Florida Administrative Code, including PAR certification.

    31. Per contract, in addition to DJJ Learning management System, YOI was required to train

 direct staff in ethics within the correctional environment, including the proper maintenance of

 documents and recorded materials relating to security issues; staff stress management; gender

 responsive services for adolescent delinquent youth; behavior management and modification;

 positive reinforcement techniques and strategies; emotional and behavioral development of

 children and adolescents; risk factors for delinquency and their treatment; physical development

 and common health issues of adolescents; restorative justice programming; risk factors and



                                                 7
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 8 of 41



 triggers relating to youth with a history of victimization; post-traumatic stress disorder (PTSD),

 victimization, exploitation, domestic violence, trauma, and recovery issues; first aid and

 cardiopulmonary resuscitation; AED; universal precautions and blood borne pathogens, such

 training to meet Federal Rule CFR 1910.1030 (OSHA Standard); emergency evacuation

 procedures for youth with a medical alert system; for staff conducting intake, the Facility Entry

 Physical Health Screening Form and administration of the Massachusetts Youth Screening

 Instrument-Second Edition (MAYS1-2), the PACT (includes RPACT), and other required intake

 processes and procedures; Risk factors and triggers relating to homicidal risk and homicidal

 prevention; immediate access to emergency medical, mental health, and substance abuse

 services; The programs treatment model; Suicide Prevention Processes and Procedures; DJJ

 Goals, Mission & Philosophy; Americans with Disabilities Act/PRES; Program and facility

 rules/personnel policies and job responsibilities; Confidentiality (HIPPA)/Reporting Child abuse;

 Safety and Security Issues; Incident reporting/Grievance procedures; Employee standards of

 conduct; Cultural Competency; Sexual Harassment; Youth/Parent/Employee handbook; Child

 Welfare training tool kit; Job specific training; Motivational Intervening; Living environment

 treatment standards; Med administration/mad alerts/allergy alerts; Fire safety; Communication

 skills; gang training; Security; Treatment needs and issues to youth; Positive and appropriate

 interaction with youth; Talks My Father Never Had with Me; and RPACT.

    32. Per contract, YOI, shall provide twenty-four (24) hours awake supervision every day of

 the year and appropriate levels of physical sight and sound presence of staff (at a minimum of

 1:8 awake; 1:8 evening, 1:10 sleep and 1:5 off-site activities) to provide immediate response to

 emergencies, active supervision of the youth, and suitable and timely response to the everyday

 needs of youth while maintaining safety and security within the program.



                                                 8
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 9 of 41



    33. On March 28, 2016, the decedent, Brandon L.B. Johnson (hereinafter “Johnson”) was

 Court ordered into the custody of the State of Florida, Department of Juvenile Justice and placed

 in the Broward Youth Treatment Center, located at 8301 South Palm Drive, Pembroke Pines,

 Florida where he remained until the date of his death on October 11, 2016.

    34. At the time of his admission, available medical records indicated that from age 8-10,

 Johnson was prescribed Depakote for seizures and also experienced significant problems with

 asthma.

    35. As a result of his medical history, Johnson’s name was placed on a medical alert list

 within the Broward Youth Treatment Center in order to alert staff and serve as notice that

 Johnson was to be monitored accordingly.

    36. On October 10, 2016, at approximately 9:00 p.m. Johnson retired to his room (Room

 102) which he shared with several other boys in the Broward Youth Treatment Center.

    37. On that same date, at approximately 9:30 p.m. Johnson was heard by some of the other

 residents making a “funny sound” while he laid on his bed.

    38. On that same date, at approximately 11:30 p.m. one of the other boys, referred to as

 “Youth M.S,” noticed Johnson had not made any noise for a while and decided to check on him.

    39. After checking on Johnson the Youth M.S was unsure if Johnson was breathing so he

 went to the staff and reported it to Defendant Leonard Williams, Supervisor.

    40. Defendant Leonard Williams then went inside room 102 and called to Johnson to wake

 up. After a couple of attempts to call on Johnson to wake up, Defendant Leonard Williams

 checked Johnson’s pulse but got no response. Defendant Leonard Williams then checked

 Johnson’s pulse on his wrist and still got no response.

    41. After feeling no pulse and getting no response from Johnson to wake up, Defendant



                                                  9
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 10 of 41



  Leonard Williams again began to calling to Johnson while shaking him. Thereafter, Defendant

  Leonard Williams took Johnson’s pulse again and noticed Johnson was cold to the touch.

     42. Defendant Leonard Williams then alerted Defendant Ira Bloom to run and get the nurse.

     43. Defendant Sharon Hill-Smith, the nurse on duty at the time, responded to Johnson’s

  room and began calling out his name. Defendant Sharon Hill-Smith also checked Johnson’s

  pulse.

     44. After determining that Johnson had no pulse, Defendant Sharon Hill-Smith notified

  Defendant Leonard Williams to call 9-1-1.

     45. At approximately 11:38 p.m. Defendant Leonard Williams contacted 9-1-1 who asked

  him to remain on the line until the police and the paramedics arrived.

     46. When Defendant Leonard Williams returned to the room, he observed Defendant Sharon

  Hill-Smith and Defendant Zedrick Gardner performing CPR and utilizing the AED machine.

     47. At 11:52 p.m. paramedics arrived and transported Johnson to Memorial Hospital in

  Pembroke Pines, Florida by EMS where he was pronounced dead on October 11, 2016.

     48. On October 11, 2016, Johnson’s autopsy was performed by Broward County Medical

  Examiner Craig Mallak, who opined that Johnson’s death was probably caused by a seizure

  disorder.

     49. At the time of his initial incarceration and then during the time that Johnson began

  suffering from the seizure until the time he was removed from the detention center by the

  EMT’s, the defendant staff at the Broward Youth Treatment Center and he defendant medical

  personnel failed to provide for Johnson’s safety and his medical needs which conduct resulted in

  serious physical injury and resulting death of Johnson.

                          COUNT 1-VIOLATION OF CIVIL RIGHTS



                                                  10
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 11 of 41



                              Count 1(a): Defendant Latoya Jackson

         Pursuant to Fed. R.Civ. P. 10(c), the plaintiffs adopt herein by reference all of the

  averments set forth above, and further states as follows:

     50. As a detainee confined to the Broward Youth Treatment Center, Johnson had a legal

  right, pursuant to the Cruel and Unusual Punishment Clause of the Eighth Amendment to the

  United States Constitution and other applicable law, to be provided with adequate attention by

  the YOI staff to provide for his medical and safety needs.

     51. Defendant Latoya Jackson, was the Program Director of the Broward Youth Treatment

  Center to supervise and otherwise control the non-medical and medical staff and the

  administration of medical services and medical care to detainees who were housed at the

  Broward Youth Treatment Center, including Johnson.

     52. During the time Johnson was in room 102 on October 10, 2016 and was in physical

  distress as a result of a seizure, Johnson developed serious medical and safety needs that required

  immediate medical attention.

     53. The defendant Latoya Jackson neglected her duty and responsibility to give reasonable

  care and adequate attention to Johnson’s medical needs and safety needs.

     54. At the time of the defendant Latoya Jackson’s aforesaid conduct and violation of

  Johnson’s legal rights as described above, Johnson’s legal rights to be provided with conditions

  of confinement that were humane, including the right to reasonable and adequate attention by the

  YOI staff to provide for his medical and safety needs, was clearly established under the law.

     55. As a direct and proximate cause of the defendant Ms. Johnson’s aforesaid neglect and

  deliberate indifference to Johnson’s legal rights to be provided with conditions of confinement

  that were humane, including the right to reasonable and adequate attention by the YOI staff who



                                                  11
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 12 of 41



  were present in the vicinity of room 102 to provide for his medical and safety needs, Johnson

  suffered significant bodily injury, including physical pain, suffering, mental anguish and

  emotional distress, and then death.

     56. As a direct and proximate cause of the defendant Latoya Jackson’s aforesaid neglect and

  deliberate indifference to Johnson’s legal rights to be provided with conditions of confinement

  that were humane, including the right to reasonable and adequate attention by the YOI staff who

  were present in the vicinity of room 102 to provide for his medical and safety needs, and

  Johnson’s resulting death, the estate of Johnson has suffered loss and damages in the form of

  funeral and burial expenses and loss of the earnings and income that Johnson would have earned

  over the remainder of his anticipated life and his estate is entitled to recover actual and punitive

  damages.

                            Count 1(b): Defendant Carmita Rosenberg

                                 DELIBERATE INDIFFERENCE

     57. As a detainee confined to the Broward Youth Treatment Center, Johnson had a legal

  right, pursuant to the Cruel and Unusual Punishment Clause of the Eighth Amendment to the

  United States Constitution and other applicable law, to be provided with adequate attention by

  the YOI staff to provide for his medical and safety needs.

     58. Defendant Carmita Rosenberg, was the Assistant Program Director of the Broward Youth

  Treatment Center to supervise and otherwise control the non-medical and medical staff and the

  administration of medical services and medical care to detainees who were housed at the

  Broward Youth Treatment Center, including Johnson.

     59. During the time Johnson was in room 102 on October 10, 2016 and was in physical




                                                  12
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 13 of 41



  distress as a result of a seizure, Johnson developed serious medical and safety needs that required

  immediate medical attention.

     60. The defendant Carmita Rosenberg neglected her duty and responsibility to give

  reasonable care and adequate attention to Johnson’s medical needs and safety needs.

     61. At the time of the defendant Carmita Rosenberg’s aforesaid conduct and violation of

  Johnson’s legal rights as described above, Johnson’s legal rights to be provided with conditions

  of confinement that were humane, including the right to reasonable and adequate attention by the

  YOI staff to provide for his medical and safety needs, was clearly established under the law.

     62. As a direct and proximate cause of the defendant Ms. Johnson’s aforesaid neglect and

  deliberate indifference to Johnson’s legal rights to be provided with conditions of confinement

  that were humane, including the right to reasonable and adequate attention by the YOI staff who

  were present in the vicinity of room 102 to provide for his medical and safety needs, Johnson

  suffered significant bodily injury, including physical pain, suffering, mental anguish and

  emotional distress, and then death.

     63. As a direct and proximate cause of the defendant Carmita Rosenberg’s aforesaid neglect

  and deliberate indifference to Johnson’s legal rights to be provided with conditions of

  confinement that were humane, including the right to reasonable and adequate attention by the

  YOI staff who were present in the vicinity of room 102 to provide for his medical and safety

  needs, and Johnson’s resulting death, the estate of Johnson has suffered loss and damages in the

  form of funeral and burial expenses and loss of the earnings and income that Johnson would have

  earned over the remainder of his anticipated life and his estate is entitled to recover actual and

  punitive damages.

                                 Count 1(c): Defendant Ms. Johnson



                                                  13
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 14 of 41



                                 DELIBERATE INDIFFERENCE

     64. As a detainee confined to the Broward Youth Treatment Center, Johnson had a legal

  right, pursuant to the Cruel and Unusual Punishment Clause of the Eighth Amendment to the

  United States Constitution and other applicable law, to be provided with adequate attention by

  the YOI staff to provide for his medical and safety needs.

     65. Defendant Ms. Johnson was the Shift A Floor Supervisor in charge of rooms 101 and

  102 between the hours of 8:00 p.m. and 10:00 p.m.

     66. The defendant Ms. Johnson being present in the vicinity of room 102 during the relevant

  time period, had the aforesaid legal duty to give reasonable and adequate attention to Johnson’s

  medical needs and safety needs.

     67. During such time, Johnson had serious medical and safety needs that required immediate

  medical attention in order to protect Johnson’s health, welfare and his life.

     68. Defendant Ms. Johnson neglected her legal duty to give reasonable and adequate

  attention to Johnson’s medical needs and safety needs and was deliberately indifferent to

  Johnson’s medical and safety needs.

     69. At the time of the defendant Ms. Johnson’s aforesaid conduct and violation of Johnson’s

  legal rights as described above, Johnson’s legal rights to be provided with conditions of

  confinement that were humane, including the right to reasonable and adequate attention by the

  YOI staff to provide for his medical and safety needs, was clearly established under the law.

     70. As a direct and proximate cause of the defendant Ms. Johnson’s aforesaid neglect and

  deliberate indifference to Johnson’s legal rights to be provided with conditions of confinement

  that were humane, including the right to reasonable and adequate attention by the YOI staff who

  were present in the vicinity of room 102 to provide for his medical and safety needs, Johnson



                                                   14
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 15 of 41



  suffered significant bodily injury, including physical pain, suffering, mental anguish and

  emotional distress, and then death.

     71. As a direct and proximate cause of the defendant Ms. Johnson’s aforesaid neglect and

  deliberate indifference to Johnson’s legal rights to be provided with conditions of confinement

  that were humane, including the right to reasonable and adequate attention by the YOI staff who

  were present in the vicinity of room 102 to provide for his medical and safety needs, and

  Johnson’s resulting death, the estate of Johnson has suffered loss and damages in the form of

  funeral and burial expenses and loss of the earnings and income that Johnson would have earned

  over the remainder of his anticipated life and his estate is entitled to recover actual and punitive

  damages.

                             Count 1(d): Defendant Leonard Williams

                                 DELIBERATE INDIFFERENCE

     72. As a detainee confined to the Broward Youth Treatment Center, Johnson had a legal

  right, pursuant to the Cruel and Unusual Punishment Clause of the Eighth Amendment to the

  United States Constitution and other applicable law, to be provided with adequate attention by

  the YOI staff to provide for his medical and safety needs.

     73. Defendant Leonard Williams was the Shift B Floor Supervisor in charge of rooms 101

  and 102 between the hours of 10:00 p.m. and 12:00 a.m.

     74. The defendant Leonard Williams being present in the vicinity of room 102 during the

  relevant time period had the aforesaid legal duty to give reasonable and adequate attention to

  Johnson’s medical needs and safety needs.

     75. During such time, Johnson had serious medical and safety needs that required immediate

  medical attention in order to protect Johnson’s health, welfare and his life.



                                                   15
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 16 of 41



     76. Defendant Leonard Williams neglected his legal duty to give reasonable and adequate

  attention to Johnson’s medical needs and safety needs and was deliberately indifferent to

  Johnson’s medical and safety needs.

     77. At the time of the defendant Leonard Williams’ aforesaid conduct and violation of

  Johnson’s legal rights as described above, Johnson’s legal rights to be provided with conditions

  of confinement that were humane, including the right to reasonable and adequate attention by the

  YOI staff to provide for his medical and safety needs, was clearly established under the law.

     78. As a direct and proximate cause of the defendant Leonard Williams’ aforesaid neglect

  and deliberate indifference to Johnson’s legal rights to be provided with conditions of

  confinement that were humane, including the right to reasonable and adequate attention by the

  YOI staff who were present in the vicinity of room 102 to provide for his medical and safety

  needs, Johnson suffered significant bodily injury, including physical pain, suffering, mental

  anguish and emotional distress, and then death.

     79. As a direct and proximate cause of the defendant Leonard Williams’ aforesaid neglect

  and deliberate indifference to Johnson’s legal rights to be provided with conditions of

  confinement that were humane, including the right to reasonable and adequate attention by the

  YOI staff who were present in the vicinity of room 102 to provide for his medical and safety

  needs, and Johnson’s resulting death, the estate of Johnson has suffered loss and damages in the

  form of funeral and burial expenses and loss of the earnings and income that Johnson would have

  earned over the remainder of his anticipated life and his estate is entitled to recover actual and

  punitive damages.

                                 Count 1(e): Defendant Ira Bloom

                                DELIBERATE INDIFFERENCE



                                                    16
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 17 of 41



     80. As a detainee confined to the Broward Youth Treatment Center, Johnson had a legal

  right, pursuant to the Cruel and Unusual Punishment Clause of the Eighth Amendment to the

  United States Constitution and other applicable law, to be provided with adequate attention by

  the YOI staff to provide for his medical and safety needs.

     81. Defendant Ira Bloom was present in the vicinity of room 102 during the relevant time

  Period and had the aforesaid legal duty to give reasonable and adequate attention to Johnson’s

  medical needs and safety needs.

     82. The defendant Ira Bloom being present in the vicinity of room 102 during the relevant

  time period had the aforesaid legal duty to give reasonable and adequate attention to Johnson’s

  medical needs and safety needs.

     83. During such time, Johnson had serious medical and safety needs that required immediate

  medical attention in order to protect Johnson’s health, welfare and his life.

     84. Defendant Ira Bloom neglected his legal duty to give reasonable and adequate attention

  to Johnson’s medical needs and safety needs and was deliberately indifferent to Johnson’s

  medical and safety needs.

     85. At the time of the defendant Ira Bloom’s aforesaid conduct and violation of Johnson’s

  legal rights as described above, Johnson’s legal rights to be provided with conditions of

  confinement that were humane, including the right to reasonable and adequate attention by the

  YOI staff to provide for his medical and safety needs, was clearly established under the law.

     86. As a direct and proximate cause of the defendant Ira Bloom’s aforesaid neglect and

  deliberate indifference to Johnson’s legal rights to be provided with conditions of confinement

  that were humane, including the right to reasonable and adequate attention by the YOI staff who

  were present in the vicinity of room 102 to provide for his medical and safety needs, Johnson



                                                   17
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 18 of 41



  suffered significant bodily injury, including physical pain, suffering, mental anguish and

  emotional distress, and then death.

     87. As a direct and proximate cause of the defendant Ira Bloom’s aforesaid neglect and

  deliberate indifference to Johnson’s legal rights to be provided with conditions of confinement

  that were humane, including the right to reasonable and adequate attention by the YOI staff who

  were present in the vicinity of room 102 to provide for his medical and safety needs, and

  Johnson’s resulting death, the estate of Johnson has suffered loss and damages in the form of

  funeral and burial expenses and loss of the earnings and income that Johnson would have earned

  over the remainder of his anticipated life and his estate is entitled to recover actual and punitive

  damages.

                              Count 1(f): Defendant Zedrick Gardner

                                 DELIBERATE INDIFFERENCE

     88. As a detainee confined to the Broward Youth Treatment Center, Johnson had a legal

  right, pursuant to the Cruel and Unusual Punishment Clause of the Eighth Amendment to the

  United States Constitution and other applicable law, to be provided with adequate attention by

  the YOI staff to provide for his medical and safety needs.

     89. Defendant Zedrick Gardner was present in the vicinity of room 102 during the relevant

  time Period and had the aforesaid legal duty to give reasonable and adequate attention to

  Johnson’s medical needs and safety needs.

     90. The defendant Zedrick Gardner being present in the vicinity of room 102 during the

  relevant time period had the aforesaid legal duty to give reasonable and adequate attention to

  Johnson’s medical needs and safety needs.

     91. During such time, Johnson had serious medical and safety needs that required immediate



                                                  18
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 19 of 41



  medical attention in order to protect Johnson’s health, welfare and his life.

     92. Defendant Zedrick Gardner neglected his legal duty to give reasonable and adequate

  attention to Johnson’s medical needs and safety needs and was deliberately indifferent to

  Johnson’s medical and safety needs.

     93. At the time of the defendant Zedrick Gardner’s aforesaid conduct and violation of

  Johnson’s legal rights as described above, Johnson’s legal rights to be provided with conditions

  of confinement that were humane, including the right to reasonable and adequate attention by the

  YOI staff to provide for his medical and safety needs, was clearly established under the law.

     94. As a direct and proximate cause of the defendant Zedrick Gardner’s aforesaid neglect and

  deliberate indifference to Johnson’s legal rights to be provided with conditions of confinement

  that were humane, including the right to reasonable and adequate attention by the YOI staff who

  were present in the vicinity of room 102 to provide for his medical and safety needs, Johnson

  suffered significant bodily injury, including physical pain, suffering, mental anguish and

  emotional distress, and then death.

     95. As a direct and proximate cause of the defendant Zedrick Gardner’s aforesaid neglect and

  deliberate indifference to Johnson’s legal rights to be provided with conditions of confinement

  that were humane, including the right to reasonable and adequate attention by the YOI staff who

  were present in the vicinity of room 102 to provide for his medical and safety needs, and

  Johnson’s resulting death, the estate of Johnson has suffered loss and damages in the form of

  funeral and burial expenses and loss of the earnings and income that Johnson would have earned

  over the remainder of his anticipated life and his estate is entitled to recover actual and punitive

  damages.

                             Count 1(g): Defendant Sharon Hill-Smith



                                                   19
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 20 of 41



                                  DELIBERATE INDIFFERENCE

     96. As a detainee confined to the Broward Youth Treatment Center, Johnson had a legal

  right, pursuant to the Cruel and Unusual Punishment Clause of the Eighth Amendment to the

  United States Constitution and other applicable law, to be provided with adequate attention by

  the YOI staff to provide for his medical and safety needs.

     97. Defendant Sharon Hill-Smith was the nurse on duty and was present in the vicinity of

  room 102 during the relevant time period and had the aforesaid legal duty to give reasonable and

  adequate attention to Johnson’s medical needs and safety needs.

     98. The defendant Sharon Hill-Smith being present in the vicinity of room 102 during the

  relevant time period had the aforesaid legal duty to give reasonable and adequate attention to

  Johnson’s medical needs and safety needs.

     99. During such time, Johnson had serious medical and safety needs that required immediate

  medical attention in order to protect Johnson’s health, welfare and his life.

     100.          Defendant Sharon Hill-Smith neglected her legal duty to give reasonable and

         adequate

  attention to Johnson’s medical needs and safety needs and was deliberately indifferent to

  Johnson’s medical and safety needs.

     101.          At the time of the defendant Sharon Hill-Smith’s aforesaid conduct and violation

  of Johnson’s legal rights as described above, Johnson’s legal rights to be provided with

  conditions of confinement that were humane, including the right to reasonable and adequate

  attention by the YOI staff to provide for his medical and safety needs, was clearly established

  under the law.

     102.          As a direct and proximate cause of the defendant Sharon Hill-Smith’s aforesaid



                                                   20
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 21 of 41



  neglect and deliberate indifference to Johnson’s legal rights to be provided with conditions of

  confinement that were humane, including the right to reasonable and adequate attention by the

  YOI staff who were present in the vicinity of room 102 to provide for his medical and safety

  needs, Johnson suffered significant bodily injury, including physical pain, suffering, mental

  anguish and emotional distress, and then death.

     103.        As a direct and proximate cause of the defendant Sharon Hill-Smith’s aforesaid

  neglect and deliberate indifference to Johnson’s legal rights to be provided with conditions of

  confinement that were humane, including the right to reasonable and adequate attention by the

  YOI staff who were present in the vicinity of room 102 to provide for his medical and safety

  needs, and Johnson’s resulting death, the estate of Johnson has suffered loss and damages in the

  form of funeral and burial expenses and loss of the earnings and income that Johnson would have

  earned over the remainder of his anticipated life and his estate is entitled to recover actual and

  punitive damages.

                  Count 1(h): Defendant Youth Opportunity Investments, LLC

                                      Deliberate Indifference

     104.        As a detainee confined to the Broward Youth Treatment Center, Johnson had a

  legal right, pursuant to the Cruel and Unusual Punishment Clause of the Eighth Amendment to

  the United States Constitution and other applicable law, to be provided with adequate attention

  by the YOI staff to provide for his medical and safety needs.

     105.        Defendant Youth Opportunity Investments, LLC, employed defendants Johnson,

  Bloom, Williams, Gardner and Hill-Smith during the relevant time period and had the aforesaid

  legal duty to give reasonable and adequate attention to Johnson’s medical needs and safety

  needs.



                                                    21
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 22 of 41



     106.        The defendant Youth Opportunity Investments, LLC, through its employees had

  the aforesaid legal duty to give reasonable and adequate attention to Johnson’s medical needs

  and safety needs.

     107.        During such time, Johnson had serious medical and safety needs that required

  immediate medical attention in order to protect Johnson’s health, welfare and his life.

     108.        Defendant Youth Opportunity Investments, LLC’s employees as referenced above

  neglected their legal duty to give reasonable and adequate attention to Johnson’s medical needs

  and safety needs and was deliberately indifferent to Johnson’s medical and safety needs.

     109.        At the time of the defendant Youth Opportunity Investment, LLC’s employees

  aforesaid conduct and violation of Johnson’s legal rights as described above, Johnson’s legal

  rights to be provided with conditions of confinement that were humane, including the right to

  reasonable and adequate attention by the YOI staff to provide for his medical and safety needs,

  was clearly established under the law.

     110.        As a direct and proximate cause of the defendant Youth Opportunity Investment,

  LLC’s employees’ aforesaid neglect and deliberate indifference to Johnson’s legal rights to be

  provided with conditions of confinement that were humane, including the right to reasonable and

  adequate attention by the YOI staff who were present in the vicinity of room 102 to provide for

  his medical and safety needs, Johnson suffered significant bodily injury, including physical pain,

  suffering, mental anguish and emotional distress, and then death.

     111.        As a direct and proximate cause of the defendant Youth Opportunity Investment,

  LLC’s aforesaid neglect and deliberate indifference to Johnson’s legal rights to be provided with

  conditions of confinement that were humane, including the right to reasonable and adequate

  attention by the YOI staff who were present in the vicinity of room 102 to provide for his



                                                  22
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 23 of 41



  medical and safety needs, and Johnson’s resulting death, the estate of Johnson has suffered loss

  and damages in the form of funeral and burial expenses and loss of the earnings and income that

  Johnson would have earned over the remainder of his anticipated life and his estate is entitled to

  recover actual and punitive damages.

                                  Ratification of Acts of YOI Staff

     112.        The defendants Ms. Johnson and Leonard Williams, as Floor Supervisors of the

  non-secure units Rooms 101 and 102 of the Broward Youth Treatment Center between the hours

  of 8:00 p.m. and 12:00 a.m., had final making authority over all of the conduct of the other non-

  medical staff within the vicinity of rooms 101 and 102 who observed, witnessed and otherwise

  participated in the treatment of, supervision of and other conduct and behavior involving Johnson

  as described above.

     113.        The defendants Ms. Johnson and Leonard Williams, through their direct

  participation in the treatment of, supervision of and other conduct and behavior involving

  Johnson as described above, ratified all of such illegal and unconstitutional conduct against

  Johnson and such ratification by the defendants Ms. Johnson and Leonard Williams subjects

  defendant State of Florida, Department of Juvenile Justice to municipal liability under 42 U.S.C.

  § 1983.

     114.        As a direct and proximate cause of the ratification of all of such illegal and

  unconstitutional conduct against Johnson by the defendants Johnson, Bloom, Williams, and

  Gardner, Johnson suffered significant bodily injury, including physical pain, suffering, mental

  anguish and emotional distress, and then death, and the defendant Youth Opportunity

  Investments, LLC, has liability for such resulting bodily injury and death under 42 U.S.C. §

  1983.



                                                   23
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 24 of 41



     115.          As a direct and proximate cause of the ratification of all of such aforesaid illegal

  and unconstitutional conduct against Johnson by the defendants Johnson, Bloom, Williams, and

  Gardner and the resulting death of Johnson, the estate of Johnson has suffered loss and damages

  in the form of funeral and burial expenses and loss of the earnings and income under 42 U.S.C. §

  1983.

                                  Ratification of Acts of Medical Staff

     116.          Defendant Hill-Smith, as Charge Nurse of the shift at the Broward Youth

  Treatment Center, had the final decision making authority over all the conduct of the medical

  staff within the Broward Youth Treatment Center who provided medical services and treatment

  to Johnson and also observed, witnessed and otherwise participated in the treatment of,

  supervision of and other conduct and behavior involving Johnson as described above.

     117.          Defendant Hill-Smith, through her direct failure to provide necessary medical

  care and treatment to Johnson and her failure to direct other medical staff under her supervision

  at the detention center to provide necessary medical care and treatment to Johnson, ratified all of

  such illegal and unconstitutional conduct against Johnson and such ratification by the defendants

  Hill-Smith subjects the defendant Youth Opportunity Investments, LLC to liability under 42

  U.S.C. § 1983.

                                 Existence of an Illegal Official Policy

     118.          The defendant Youth Opportunity Investments, LLC, had an obligation not to use

  and employ official policies that violated Johnson’s constitutional right against deliberate

  indifference to his reasonable and necessary medical needs.

     119.          The defendant Youth Opportunity Investments, LLC had in force and effect an




                                                     24
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 25 of 41



  official policy described in paragraph 31. Said defective policy required a ten- minute bed check

  where employees conducted those ten-minute bed checks were not required to see any sign of

  life of the youth, even for those on medical alert, as Johnson, nor were they required to actually

  enter into the detainees’ rooms when conducting the ten-minute bed check.

     120.        As a result of the defective policy, employees of defendant Youth Opportunity

  Investments, LLC, specifically, defendants Johnson, Bloom, Williams, Gardner and Hill-Smith,

  were not aware that Johnson was suffering or had suffered a life-threatening seizure that required

  immediate medical attention until it was too late.

     121.        As a direct and proximate cause of the defendant Youth Opportunity Investments,

  LLC’s official policy in the form of the 10-minute bed check, which violated Johnson’s

  constitutional right against deliberate indifference to his reasonable and necessary medical needs,

  Johnson suffered bodily injury, including physical pain, suffering, mental anguish and emotional

  distress, and death and the defendant Youth Opportunity Investments, LLC has liability for such

  resulting bodily injury and death under 42 U.S.C. § 1983.

     122.        As a direct and proximate cause of the defendant Youth Opportunity Investments,

  LLC’s official policy in the form of the 10-minute bed check, which violated Johnson’s

  constitutional right against deliberate indifference to his reasonable and necessary medical needs

  and resulting death of Johnson, the estate of Johnson has suffered loss and damages in the form

  of funeral and burial expenses and loss of the earnings and income that Johnson would have

  earned over the remainder of his anticipated life, and the defendant Youth Opportunity

  Investments, LLC has liability for such resulting bodily injury and death under 42 U.S.C. § 1983.

                  Existence of a Policy of Inadequate Training and Supervision

     123.        The defendant Youth Opportunity Investments, LLC had an obligation to provide



                                                  25
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 26 of 41



  proper training and supervision of those medical staff that provided medical care and treatment

  to detainees at the Broward Youth Treatment Center so as to ensure that such medical staff

  properly provided necessary medical care and treatment to Johnson so as to comport with

  Johnson’s constitutional rights against deliberate indifference to his reasonable and necessary

  medical needs.

     124.          The defendant Youth Opportunity Investments, LLC failed to provide proper

  training and supervision of those medical staff that provided medical care and treatment to

  detainees at the Broward Youth Treatment Center so as to ensure that such medical staff properly

  provided necessary medical care and treatment to Johnson so as to comport with Johnson’s

  constitutional rights against deliberate indifference to his reasonable and necessary medical

  needs.

     125.          As a direct and proximate cause of the defendant Youth Opportunity Investments,

  LLC’s failure to provide proper training and supervision of those medical staff that provided

  medical care and treatment to detainees at the Broward Youth Treatment Center so as to ensure

  that such medical staff properly provided necessary medical care and treatment to Johnson so as

  to comport with Johnson’s constitutional rights against deliberate indifference to his reasonable

  and necessary medical needs, Johnson suffered bodily injury, including physical pain, suffering,

  mental anguish and emotional distress, and death and the defendant Youth Opportunity

  Investments, LLC has liability for such resulting bodily injury and death under 42 U.S.C. § 1983.

     126.          As a direct and proximate cause of the defendant Youth Opportunity Investments,

  LLC’s failure to provide proper training and supervision of those medical staff that provided

  medical care and treatment to detainees at the Broward Youth Treatment Center so as to ensure

  that such medical staff properly provided necessary medical care and treatment to Johnson so as



                                                  26
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 27 of 41



  to comport with Johnson’s constitutional rights against deliberate indifference to his reasonable

  and necessary medical needs and the resulting death of Johnson, the estate of Johnson has

  suffered loss and damages in the form of funeral and burial expenses and loss of earnings and

  income that Johnson would have earned over the remainder of his anticipated life, and the

  defendant Youth Opportunity Investments, LLC has liability for such funeral and burial expenses

  under 42 U.S.C. § 1983.

                     Existence of custom of Tolerance of Federal Rights Violations

     127.        The defendant Youth Opportunity Investments, LLC, maintained and perpetuated

  a custom of tolerance or acquiescence of the medical staff at the Broward Youth Treatment

  Center failing to properly provide necessary medical care and treatment to detainees at the

  Broward Youth Treatment Center so as to violate the detainees’ constitutional right against

  deliberate indifference to their reasonable and necessary medical needs.

     128.        As a direct and proximate cause of the defendant Youth Opportunity Investments,

  LLC maintaining and perpetuating a custom of tolerance or acquiescence of the medical staff at

  the Broward Youth Treatment Center failing to properly provide necessary medical care and

  treatment to detainees at the Broward Youth Treatment Center so as to violate the detainees’

  constitutional right against deliberate indifference to their reasonable and necessary medical

  needs, Johnson suffered bodily injury, including physical pain, suffering, mental anguish and

  emotional distress, and death and the defendant Youth Opportunity Investments, LLC has

  municipal liability for such resulting bodily injury and death under 42 U.S.C. § 1983.

     129.        As a direct and proximate cause of the defendant Youth Opportunity

  Investments, LLC maintaining and perpetuating a custom of tolerance or acquiescence of the

  medical staff at the Broward Youth Treatment Center failing to properly provide necessary



                                                  27
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 28 of 41



  medical care and treatment to detainees at the Broward Youth Treatment Center so as to violate

  the detainees’ constitutional right against deliberate indifference to their reasonable and

  necessary medical needs, and the resulting death of Johnson, the estate of Johnson suffered loss

  and damages in the form of funeral and burial expenses and loss of earnings and income that

  Johnson would have earned over the remainder of his anticipated life, and the defendant Youth

  Opportunity Investments, LLC has liability for such funeral and burial expenses under 42 U.S.C.

  § 1983.

    Count 1(i): Defendant Timothy Niermann, Secretary, State of Florida, Department of

                                           Juvenile Justice

                                  Ratification of Acts of YOI Staff

     130.        The defendants Ms. Johnson and Leonard Williams, as Floor Supervisors of the

  non-secure units Rooms 101 and 102 of the Broward Youth Treatment Center between the hours

  of 8:00 p.m. and 12:00 a.m., had final making authority over all of the conduct of the other non-

  medical staff within the vicinity of rooms 101 and 102 who observed, witnessed and otherwise

  participated in the treatment of, supervision of and other conduct and behavior involving Johnson

  as described above.

     131.        The defendants Ms. Johnson and Leonard Williams, through their direct

  participation in the treatment of, supervision of and other conduct and behavior involving

  Johnson as described above, ratified all of such illegal and unconstitutional conduct against

  Johnson and such ratification by the defendants Ms. Johnson and Leonard Williams subjects

  defendant State of Florida, Department of Juvenile Justice to municipal liability under 42 U.S.C.

  § 1983.

     132.        As a direct and proximate cause of the ratification of all of such illegal and



                                                   28
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 29 of 41



  unconstitutional conduct against Johnson by the defendants Johnson, Bloom, Williams, and

  Gardner, Johnson suffered significant bodily injury, including physical pain, suffering, mental

  anguish and emotional distress, and then death, and the defendant Timothy Niermann, as

  Secretary for the State of Florida, Department of Juvenile Justice has municipal liability for such

  resulting bodily injury and death under 42 U.S.C. § 1983.

     133.        As a direct and proximate cause of the ratification of all of such aforesaid illegal

  and unconstitutional conduct against Johnson by the defendants Johnson, Bloom, Williams, and

  Gardner and the resulting death of Johnson, the estate of Johnson has suffered loss and damages

  in the form of funeral and burial expenses and loss of the earnings and income under 42 U.S.C. §

  1983.

                                Ratification of Acts of Medical Staff

     134.        Defendant Hill-Smith, as Charge Nurse of the shift at the Broward Youth

  Treatment Center, had the final decision making authority over all the conduct of the medical

  staff within the Broward Youth Treatment Center who provided medical services and treatment

  to Johnson and also observed, witnessed and otherwise participated in the treatment of,

  supervision of and other conduct and behavior involving Johnson as described above.

     135.        Defendant Hill-Smith, through her direct failure to provide necessary medical

  care and treatment to Johnson and her failure to direct other medical staff under her supervision

  at the detention center to provide necessary medical care and treatment to Johnson, ratified all of

  such illegal and unconstitutional conduct against Johnson and such ratification by the defendants

  Hill-Smith subjects the defendant Timothy Niermann, as Secretary for the State of Florida,

  Department of Juvenile Justice to municipal liability under 42 U.S.C. § 1983.

                               Existence of an Illegal Official Policy



                                                   29
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 30 of 41



     136.        The defendant State of Florida, Department of Juvenile Justice, had an obligation

  not to use and employ official policies that violated Johnson’s constitutional right against

  deliberate indifference to his reasonable and necessary medical needs.

     137.        The defendant Timothy Niermann, as Secretary for the State of Florida,

  Department of Juvenile Justice had in force and effect an official policy described in paragraph

  31. Said defective policy required a ten- minute bed check where employees conducted those

  ten-minute bed checks were not required to see any sign of life of the youth, even for those on

  medical alert, as Johnson, nor were they required to actually enter into the detainees’ rooms

  when conducting the ten-minute bed check.

     138.        As a result of the defective policy, employees of defendant Youth Opportunity

  Investments, LLC, specifically, defendants Johnson, Bloom, Williams, Gardner and Hill-Smith,

  were not aware that Johnson was suffering or had suffered a life-threatening seizure that required

  immediate medical attention until it was too late.

     139.        As a direct and proximate cause of the defendant Timothy Niermann, as Secretary

  for the State of Florida, Department of Juvenile Justice’s official policy in the form of the 10-

  minute bed check, which violated Johnson’s constitutional right against deliberate indifference to

  his reasonable and necessary medical needs, Johnson suffered bodily injury, including physical

  pain, suffering, mental anguish and emotional distress, and death and the Timothy Niermann, as

  Secretary for the State of Florida, Department of Juvenile Justice has municipal liability for such

  resulting bodily injury and death under 42 U.S.C. § 1983.

     140.        As a direct and proximate cause of the Timothy Niermann, as Secretary for the

  State of Florida, Department of Juvenile Justice’s official policy in the form of the 10-minute bed

  check, which violated Johnson’s constitutional right against deliberate indifference to his



                                                  30
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 31 of 41



  reasonable and necessary medical needs and resulting death of Johnson, the estate of Johnson has

  suffered loss and damages in the form of funeral and burial expenses and loss of the earnings and

  income that Johnson would have earned over the remainder of his anticipated life, and the

  Timothy Niermann, as Secretary for the State of Florida, Department of Juvenile Justice has

  municipal liability for such resulting bodily injury and death under 42 U.S.C. § 1983.

                  Existence of a Policy of Inadequate Training and Supervision

     141.        The defendant Timothy Niermann, as Secretary for the State of Florida,

  Department of Juvenile Justice had an obligation to provide proper training and supervision of

  those medical staff that provided medical care and treatment to detainees at the Broward Youth

  Treatment Center so as to ensure that such medical staff properly provided necessary medical

  care and treatment to Johnson so as to comport with Johnson’s constitutional rights against

  deliberate indifference to his reasonable and necessary medical needs.

     142.        The defendant Timothy Niermann, as Secretary for the State of Florida,

  Department of Juvenile Justice failed to provide proper training and supervision of those medical

  staff that provided medical care and treatment to detainees at the Broward Youth Treatment

  Center so as to ensure that such medical staff properly provided necessary medical care and

  treatment to Johnson so as to comport with Johnson’s constitutional rights against deliberate

  indifference to his reasonable and necessary medical needs.

     143.        As a direct and proximate cause of the defendant Timothy Niermann, as Secretary

  for the State of Florida, Department of Juvenile Justice’s failure to provide proper training and

  supervision of those medical staff that provided medical care and treatment to detainees at the

  Broward Youth Treatment Center so as to ensure that such medical staff properly provided

  necessary medical care and treatment to Johnson so as to comport with Johnson’s constitutional



                                                  31
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 32 of 41



  rights against deliberate indifference to his reasonable and necessary medical needs, Johnson

  suffered bodily injury, including physical pain, suffering, mental anguish and emotional distress,

  and death and the defendant Timothy Niermann, as Secretary for the State of Florida,

  Department of Juvenile Justice has municipal liability for such resulting bodily injury and death

  under 42 U.S.C. § 1983.

     144.        As a direct and proximate cause of the defendant Timothy Niermann, as Secretary

  for the State of Florida, Department of Juvenile Justice’s failure to provide proper training and

  supervision of those medical staff that provided medical care and treatment to detainees at the

  Broward Youth Treatment Center so as to ensure that such medical staff properly provided

  necessary medical care and treatment to Johnson so as to comport with Johnson’s constitutional

  rights against deliberate indifference to his reasonable and necessary medical needs and the

  resulting death of Johnson, the estate of Johnson has suffered loss and damages in the form of

  funeral and burial expenses and loss of earnings and income that Johnson would have earned

  over the remainder of his anticipated life, and the defendant Timothy Niermann, as Secretary for

  the State of Florida, Department of Juvenile Justice has municipal liability for such funeral and

  burial expenses under 42 U.S.C. § 1983.

                     Existence of Custom of Tolerance of Federal Rights Violations

     145.        The defendant Timothy Niermann, as Secretary for the State of Florida,

  Department of Juvenile Justice, maintained and perpetuated a custom of tolerance or

  acquiescence of the medical staff at the Broward Youth Treatment Center failing to properly

  provide necessary medical care and treatment to detainees at the Broward Youth Treatment

  Center so as to violate the detainees’ constitutional right against deliberate indifference to their

  reasonable and necessary medical needs.



                                                  32
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 33 of 41



     146.        As a direct and proximate cause of the defendant Timothy Niermann, as Secretary

  for the State of Florida, Department of Juvenile Justice maintaining and perpetuating a custom of

  tolerance or acquiescence of the medical staff at the Broward Youth Treatment Center failing to

  properly provide necessary medical care and treatment to detainees at the Broward Youth

  Treatment Center so as to violate the detainees’ constitutional right against deliberate

  indifference to their reasonable and necessary medical needs, Johnson suffered bodily injury,

  including physical pain, suffering, mental anguish and emotional distress, and death and the

  defendant Timothy Niermann, as Secretary for the State of Florida, Department of Juvenile

  Justice has municipal liability for such resulting bodily injury and death under 42 U.S.C. § 1983.

     147.        As a direct and proximate cause of the defendant Timothy Niermann, as

  Secretary for the State of Florida, Department of Juvenile Justice maintaining and perpetuating a

  custom of tolerance or acquiescence of the medical staff at the Broward Youth Treatment Center

  failing to properly provide necessary medical care and treatment to detainees at the Broward

  Youth Treatment Center so as to violate the detainees’ constitutional right against deliberate

  indifference to their reasonable and necessary medical needs, and the resulting death of Johnson,

  the estate of Johnson suffered loss and damages in the form of funeral and burial expenses and

  loss of earnings and income that      Johnson would have earned over the remainder of his

  anticipated life, and the defendant Timothy Niermann, as Secretary for the State of Florida,

  Department of Juvenile Justice has municipal liability for such funeral and burial expenses under

  42 U.S.C. § 1983.

             Count 1(j): Defendant State of Florida, Department of Juvenile Justice

                                 Ratification of Acts of YOI Staff

     148.        The defendants Ms. Johnson and Leonard Williams, as Floor Supervisors of the



                                                  33
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 34 of 41



  non-secure units Rooms 101 and 102 of the Broward Youth Treatment Center between the hours

  of 8:00 p.m. and 12:00 a.m., had final making authority over all of the conduct of the other non-

  medical staff within the vicinity of rooms 101 and 102 who observed, witnessed and otherwise

  participated in the treatment of, supervision of and other conduct and behavior involving Johnson

  as described above.

     149.          The defendants Ms. Johnson and Leonard Williams, through their direct

  participation in the treatment of, supervision of and other conduct and behavior involving

  Johnson as described above, ratified all of such illegal and unconstitutional conduct against

  Johnson and such ratification by the defendants Ms. Johnson and Leonard Williams subjects

  defendant State of Florida, Department of Juvenile Justice to municipal liability under 42 U.S.C.

  § 1983.

     150.          As a direct and proximate cause of the ratification of all of such illegal and

  unconstitutional conduct against Johnson by the defendants Johnson, Bloom, Williams, and

  Gardner, Johnson suffered significant bodily injury, including physical pain, suffering, mental

  anguish and emotional distress, and then death, and the defendant State of Florida, Department

  of Juvenile Justice has municipal liability for such resulting bodily injury and death under 42

  U.S.C. § 1983.

     151.          As a direct and proximate cause of the ratification of all of such aforesaid illegal

  and unconstitutional conduct against Johnson by the defendants Johnson, Bloom, Williams, and

  Gardner and the resulting death of Johnson, the estate of Johnson has suffered loss and damages

  in the form of funeral and burial expenses and loss of the earnings and income under 42 U.S.C. §

  1983.

                                  Ratification of Acts of Medical Staff



                                                     34
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 35 of 41



     152.        Defendant Hill-Smith, as Charge Nurse of the shift at the Broward Youth

  Treatment Center, had the final decision making authority over all the conduct of the medical

  staff within the Broward Youth Treatment Center who provided medical services and treatment

  to Johnson and also observed, witnessed and otherwise participated in the treatment of,

  supervision of and other conduct and behavior involving Johnson as described above.

     153.        Defendant Hill-Smith, through her direct failure to provide necessary medical

  care and treatment to Johnson and her failure to direct other medical staff under her supervision

  at the detention center to provide necessary medical care and treatment to Johnson, ratified all of

  such illegal and unconstitutional conduct against Johnson and such ratification by the defendants

  Hill-Smith subjects the defendant State of Florida, Department of Juvenile Justice to municipal

  liability under 42 U.S.C. § 1983.

                               Existence of an Illegal Official Policy

     154.        The defendant State of Florida, Department of Juvenile Justice, had an obligation

  not to use and employ official policies that violated Johnson’s constitutional right against

  deliberate indifference to his reasonable and necessary medical needs.

     155.        The defendant State of Florida, Department of Juvenile Justice had in force and

  effect an official policy described in paragraph 31. Said defective policy required a ten- minute

  bed check where employees conducted those ten-minute bed checks were not required to see any

  sign of life of the youth, even for those on medical alert, as Johnson, nor were they required to

  actually enter into the detainees’ rooms when conducting the ten-minute bed check.

     156.        As a result of the defective policy, employees of defendant Youth Opportunity




                                                  35
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 36 of 41



  Investments, LLC, specifically, defendants Johnson, Bloom, Williams, Gardner and Hill-Smith,

  were not aware that Johnson was suffering or had suffered a life-threatening seizure that required

  immediate medical attention until it was too late.

     157.        As a direct and proximate cause of the defendant State of Florida, Department of

  Juvenile Justice’s official policy in the form of the 10-minute bed check, which violated

  Johnson’s constitutional right against deliberate indifference to his reasonable and necessary

  medical needs, Johnson suffered bodily injury, including physical pain, suffering, mental anguish

  and emotional distress, and death and the defendant State of Florida, Department of Juvenile

  Justice has municipal liability for such resulting bodily injury and death under 42 U.S.C. § 1983.

     158.        As a direct and proximate cause of the defendant State of Florida, Department of

  Juvenile Justice’s official policy in the form of the 10-minute bed check, which violated

  Johnson’s constitutional right against deliberate indifference to his reasonable and necessary

  medical needs and resulting death of Johnson, the estate of Johnson has suffered loss and

  damages in the form of funeral and burial expenses and loss of the earnings and income that

  Johnson would have earned over the remainder of his anticipated life, and the defendant State of

  Florida, Department of Juvenile Justice has municipal liability for such resulting bodily injury

  and death under 42 U.S.C. § 1983.

                  Existence of a Policy of Inadequate Training and Supervision

     159.        The defendant State of Florida, Department of Juvenile Justice had an obligation

  to provide proper training and supervision of those medical staff that provided medical care and

  treatment to detainees at the Broward Youth Treatment Center so as to ensure that such medical

  staff properly provided necessary medical care and treatment to Johnson so as to comport with




                                                  36
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 37 of 41



  Johnson’s constitutional rights against deliberate indifference to his reasonable and necessary

  medical needs.

     160.          The defendant State of Florida, Department of Juvenile Justice failed to provide

  proper training and supervision of those medical staff that provided medical care and treatment

  to detainees at the Broward Youth Treatment Center so as to ensure that such medical staff

  properly provided necessary medical care and treatment to Johnson so as to comport with

  Johnson’s constitutional rights against deliberate indifference to his reasonable and necessary

  medical needs.

     161.          As a direct and proximate cause of the defendant State of Florida, Department of

  Juvenile Justice’s failure to provide proper training and supervision of those medical staff that

  provided medical care and treatment to detainees at the Broward Youth Treatment Center so as

  to ensure that such medical staff properly provided necessary medical care and treatment to

  Johnson so as to comport with Johnson’s constitutional rights against deliberate indifference to

  his reasonable and necessary medical needs, Johnson suffered bodily injury, including physical

  pain, suffering, mental anguish and emotional distress, and death and the defendant State of

  Florida, Department of Juvenile Justice has municipal liability for such resulting bodily injury

  and death under 42 U.S.C. § 1983.

     162.          As a direct and proximate cause of the defendant State of Florida, Department of

  Juvenile Justice’s failure to provide proper training and supervision of those medical staff that

  provided medical care and treatment to detainees at the Broward Youth Treatment Center so as

  to ensure that such medical staff properly provided necessary medical care and treatment to

  Johnson so as to comport with Johnson’s constitutional rights against deliberate indifference to

  his reasonable and necessary medical needs and the resulting death of Johnson, the estate of



                                                   37
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 38 of 41



  Johnson has suffered loss and damages in the form of funeral and burial expenses and loss of

  earnings and income that Johnson would have earned over the remainder of his anticipated life,

  and the defendant State of Florida, Department of Juvenile Justice has municipal liability for

  such funeral and burial expenses under 42 U.S.C. § 1983.

                       Existence of Custom of Tolerance of Federal Rights Violations

     163.          The defendant State of Florida, Department of Juvenile Justice, maintained and

  perpetuated a custom of tolerance or acquiescence of the medical staff at the Broward Youth

  Treatment Center failing to properly provide necessary medical care and treatment to detainees

  at the Broward Youth Treatment Center so as to violate the detainees’ constitutional right against

  deliberate indifference to their reasonable and necessary medical needs.

     164.          As a direct and proximate cause of the defendant State of Florida, Department of

  Juvenile Justice maintaining and perpetuating a custom of tolerance or acquiescence of the

  medical staff at the Broward Youth Treatment Center failing to properly provide necessary

  medical care and treatment to detainees at the Broward Youth Treatment Center so as to violate

  the detainees’ constitutional right against deliberate indifference to their reasonable and

  necessary medical needs, Johnson suffered bodily injury, including physical pain, suffering,

  mental anguish and emotional distress, and death and the defendant State of Florida, Department

  of Juvenile Justice has municipal liability for such resulting bodily injury and death under 42

  U.S.C. § 1983.

     165.          As a direct and proximate cause of the defendant State of Florida, Department of

  Juvenile Justice maintaining and perpetuating a custom of tolerance or acquiescence of the

  medical staff at the Broward Youth Treatment Center failing to properly provide necessary

  medical care and treatment to detainees at the Broward Youth Treatment Center so as to violate



                                                   38
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 39 of 41



  the detainees’ constitutional right against deliberate indifference to their reasonable and

  necessary medical needs, and the resulting death of Johnson, the estate of Johnson suffered loss

  and damages in the form of funeral and burial expenses and loss of earnings and income that

  Johnson would have earned over the remainder of his anticipated life, and the defendant State of

  Florida, Department of Juvenile Justice has municipal liability for such funeral and burial

  expenses under 42 U.S.C. § 1983.

                         COUNT II-STATE LAW CLAIM FOR NEGLIGENCE

         Pursuant to Fed. R. Civ. P. 10(c), the plaintiffs adopt herein by reference all of the

  averments set forth above, and further states as follows:

     166.        The defendants, and each of them, had a duty to exercise reasonable case in the

  detention of Johnson and the duty to exercise reasonable care to treat any medical condition

  suffered by Johnson and to provide for his medical needs during his detention.

     167.        The defendants, and each of them, breached their duty of care in the detention and

  supervision and medical care treatment of Johnson.

     168.        As a direct and proximate result of the breach of such duty of care by the

  defendants, and each of them, Johnson suffered physical injury, including physical pain,

  suffering, mental anguish and emotional distress, and death.

     169.        The conduct of the defendants, and each of them, constitutes gross negligence

  which entitled the plaintiffs to punitive damages.

                   COUNT III-STATAES LAW CLAIM FOR WRONGFUL DEATH

         Pursuant to Fed. R. Civ. P. 10(c), the plaintiffs adopt herein by reference all of the

  averments set forth above, and further states as follows:

     170.        As a direct and proximate result of the aforesaid negligence, gross negligence, and



                                                   39
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 40 of 41



  such other unlawful conduct of the defendants, and each of them, and the resulting death of

  Johnson, the estate of Johnson has suffered loss and damages in the form of funeral and burial

  expenses and loss of earnings and income that Johnson would have earned over the remainder of

  his anticipated life and his estate is entitled to recover actual and punitive damages pursuant to

  Florida Statute 768.72.

                                      DEMAND FOR JURY TRIAL

          Plaintiffs do hereby demand a trial by jury on any and all issues so triable herein.

          WHEREFORE, the Plaintiffs, and each of them, seek judgment against the defendants,

  jointly and severally, as follows:

          1. Judgment for the physical pain, suffering, mental anguish and emotional distress

  suffered by Johnson prior to his death;

          2. Judgment for the funeral and burial expenses resulting from the death of Johnson;

          3. Judgment for the loss of income and earnings of Johnson over the remainder of his

  anticipated life;

          4. Judgment for punitive damages; and

          5. Judgment for such other necessary and proper relief to which the plaintiffs may

  appear entitled, including a reasonable fee for their attorney and including a trial by jury on any

  and all issues so triable herein.

  Dated this October 9, 2018.




                                                   40
Case 0:18-cv-62400-BB Document 1 Entered on FLSD Docket 10/09/2018 Page 41 of 41



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                                        41
